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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA             :              CRIMINAL ACTION
                                     :
           v.                        :
                                     :              No. 10-442
NYFESSE SAUNDERS                     :



                                  ORDER

          And now, this      12th    day of January 2021, for the

reasons set forth in the foregoing Memorandum, it is hereby

ORDERED that the motion of defendant Nyfesse Saunders for

reduction of sentence under 18 U.S.C. § 3582(c)(1)(A)

(Doc. # 39) is DENIED.



                                         BY THE COURT:


                                          /s/ Harvey Bartle III
                                         _____________________
                                                                      J.
